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                       UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF WISCONSIN
__________________________________________

VANESSA BIGGERS,                          :
                                          :
                  Plaintiff,              :
                                          :
            v.                            :                          No.
                                          :
NATIONAL PRESTO INDUSTRIES, INC.,          :
                                          :
                  Defendant.              :
__________________________________________

                                 PLAINTIFF’S COMPLAINT

       Plaintiff, by and through her attorneys, JOHNSON BECKER, PLLC, upon information

and belief at all times hereinafter mentioned, alleges as follows:

                                    NATURE OF THE CASE

       1.      Defendant National Prestos Industries, Inc. (“Presto”) designs, manufactures,

markets, imports, distributes and sells a wide-range of consumer kitchen products, including the

subject “Presto Stovetop Pressure Cooker,” that is at issue in this case.

       2.      Defendant touts that its pressure cookers are equipped with features such as Cover

Lock Indicator 1 that “shows at a glance if there is pressure inside the cooker” and a Pressure

Regulator that “maintains the proper cooking pressure automatically” 2. Despite Defendant’s

claims, it designed, manufactured, marketed, imported, distributed and sold, both directly and

through third-party retailers, a product that suffers from serious and dangerous defects. Said

defects cause significant risk of bodily harm and injury to its consumers.



1
  See https://www.gopresto.com/product/presto-6-quart-aluminum-pressure-cooker-01264 (last
accessed May 6, 2022)
2
  Id.

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       3.      Specifically, said defects manifest themselves when, despite Defendant’s

statements, the lid of the pressure cooker is removable with built-up pressure, heat and steam still

inside the unit. When the lid is removed under such circumstances, the pressure trapped within

the unit causes the scalding hot contents to be projected from the unit and into the surrounding

area, including onto the unsuspecting consumers, their families and other bystanders. The Plaintiff

in this case was able to remove the lid while the pressure cooker retained pressure, causing her

serious and substantial bodily injuries and damages.

       4.      Defendant knew or should have known of these defects but has nevertheless put

profit ahead of safety by continuing to sell its pressure cookers to consumers, failing to warn said

consumers of the serious risks posed by the defects, and failing to recall the dangerously defective

pressure cookers regardless of the risk of significant injuries to Plaintiff and consumers like her.

       5.      Defendant ignored and/or concealed its knowledge of these defects in its pressure

cookers from the Plaintiff in this case, as well as the public in general, in order to continue

generating a profit from the sale of said pressure cookers, demonstrating a callous, reckless,

willful, depraved indifference to the health, safety and welfare of Plaintiff and consumers like her.

       6.      As a direct and proximate result of Defendant’s conduct, the Plaintiff in this case

incurred significant and painful bodily injuries, medical expenses, lost wages, physical pain,

mental anguish, and diminished enjoyment of life.

                               PLAINTIFF VANESSA BIGGERS

       7.      Plaintiff Vanessa Biggers is a resident and citizen of the city of Champaign, County

of Champaign, State of Illinois, and was born on December 9, 1960.

       8.      On or about June 5, 2020, Plaintiff suffered serious and substantial burn injuries as

the direct and proximate result of the Pressure Cooker’s lid being able to be rotated and opened



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while the Pressure Cooker was still under pressure, during the normal, directed use of the Pressure

Cooker, allowing its scalding hot contents to be forcefully ejected from the Pressure Cooker and

onto Plaintiff. The incident occurred as a result of the failure of the Pressure Cooker’s supposed

“Built-In Safety Features,” which purport to keep the consumer safe while using the Pressure

Cooker. In addition, the incident occurred as the result of Defendant’s failure to redesign the

Pressure Cooker, despite the existence of economical, safer alternative designs.

                   DEFENDANT NATIONAL PRESTO INDUSTRIES, INC.,

           9.    Defendant designs, manufactures, markets, imports, distributes and sells a variety

of consumer kitchen products including pressure cookers, air fryers, and blenders, amongst others.

           10.   Defendant Presto is a Wisconsin corporation with is principal place of business at

3925 North Hasting, Eau Claire, WI 54703.

                                 JURISDICTION AND VENUE

           11.   This Court has subject matter jurisdiction over this case pursuant to diversity

jurisdiction prescribed by 28 U.S.C. § 1332 because the matter in controversy exceeds the sum or

value of $75,000, exclusive of interest and costs, and there is complete diversity between the

parties.

           12.   Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(1) because Defendant

resides in this district.

           13.   Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2) because all or a

substantial part of the events or omissions giving rise to this claim occurred in this district.

           14.   Venue is also proper in this Court pursuant to 28 U.S.C. § 1391(b)(3) because

Defendant has sufficient minimum contacts with the State of Wisconsin and has intentionally




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availed itself of the markets within Wisconsin through the promotion, sale, marketing, and

distribution of its products, so as to be subject to personal jurisdiction in this district.

                                    FACTUAL BACKGROUND

        15.     Defendant is engaged in the business of designing, manufacturing, warranting,

marketing, importing, distributing and selling the pressure cooker at issue in this litigation.

        16.     Defendant warrants, markets, advertises and sells its pressure cookers as saving

“time, energy, and money,” allowing consumers to cook meals “3 times faster than ordinary

cooking methods.” 3

        17.     Defendant touts that its pressure cookers are equipped with features such as Cover

Lock Indicator 4 that “shows at a glance if there is pressure inside the cooker” and a Pressure

Regulator that “maintains the proper cooking pressure automatically” 5.

        18.     By reason of the foregoing acts or omissions, the above-named Plaintiff and/or her

family purchased the pressure cooker with the reasonable expectation that it was properly designed

and manufactured, free from defects of any kind, and that it was safe for its intended, foreseeable

use of cooking.

        19.     Plaintiff used her pressure cooker for its intended purpose of preparing meals for

herself and/or family and did so in a manner that was reasonable and foreseeable by the Defendant.

        20.     However, the aforementioned pressure cooker was defectively and negligently

designed and manufactured by the Defendant in that it failed to properly function as to prevent the

lid from being removed with normal force while the unit remained pressurized, despite the

appearance that all the pressure had been released, during the ordinary, foreseeable and proper use



3
  Id.
4
  Id.
5
  Id.

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of cooking food with the product; placing the Plaintiff, her family, and similar consumers in danger

while using the pressure cookers.

       21.     Defendant’s pressure cookers possess defects that make them unreasonably

dangerous for their intended use by consumers because the lid can be rotated and opened while the

unit remains pressurized.

       22.     Further, Defendant’s representations about “safety” are not just misleading, they

are flatly wrong, and put innocent consumers like Plaintiff directly in harm’s way.

       23.     Economic, safer alternative designs were available that could have prevented the

Pressure Cooker’s lid from being rotated and opened while pressurized.

       24.     Defendant knew or should have known that its pressure cookers possessed defects

that pose a serious safety risk to Plaintiff and the public. Nevertheless, Defendant continues to

ignore and/or conceal its knowledge of the pressure cookers’ defects from the general public and

continues to generate a substantial profit from the sale of its pressure cookers.

       25.     As a direct and proximate result of Defendant’s intentional concealment of such

defects, its failure to warn consumers of such defects, its negligent misrepresentations, its failure

to remove a product with such defects from the stream of commerce, and its negligent design of

such products, Plaintiff used an unreasonably dangerous pressure cooker, which resulted in

significant and painful bodily injuries upon Plaintiff’s simple removal of the lid of the Pressure

Cooker.

       26.     Consequently, the Plaintiff in this case seeks compensatory damages resulting from

the use of Defendant’s pressure cooker as described above, which has caused the Plaintiff to suffer

from serious bodily injuries, medical expenses, lost wages, physical pain, mental anguish,

diminished enjoyment of life, and other damages.



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                                       CLAIMS FOR RELIEF

                                       COUNT I
                           STRICT LIABILITY - DESIGN DEFECT

       27.     Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

       28.     Defendant is the manufacturer, seller, distributor, marketer, and supplier of the

subject Pressure Cookers, which was negligently designed.

       29.     Defendant failed to exercise reasonable care in designing, developing,

manufacturing, inspecting, testing, packaging, selling, distributing, labeling, marketing, and

promoting its Pressure Cookers, which were defective and presented an unreasonable risk of harm

to consumers, such as the Plaintiff.

       30.     As a result, the subject Pressure Cookers, including Plaintiff’s Pressure Cooker,

contain defects in their design which render them unreasonably dangerous to consumers, such as

the Plaintiff, when used as intended or as reasonably foreseeable to Defendant. The defect in the

design allows consumers such as Plaintiff to open the lid while the unit remains pressurized,

despite the appearance that all the pressure has been released from the unit, and causes an

unreasonable increased risk of injury, including, but not limited to, first, second and third-degree

scald burns.

       31.     Plaintiff in this case used her Pressure Cooker in a reasonably foreseeable manner

and did so as substantially intended by Defendant.

       32.     The subject Pressure Cooker was not materially altered or modified after being

manufactured by Defendant and before being used by Plaintiff.

       33.     The design defects allowing the lid to open while the unit was still pressurized

directly rendered the Pressure Cookers defective and were the direct and proximate result of


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Defendant’s negligence and failure to use reasonable care in designing, testing, manufacturing,

and promoting the Pressure Cookers.

       34.     As a direct and proximate result of Defendant’s negligent design of its Pressure

Cookers, the Plaintiff in this case suffered injuries and damages described herein.

       35.     Despite the fact that Defendant knew or should have known that the Plaintiff and

consumers like her were able to remove the lid while the Pressure Cookers were still pressurized,

Defendant continued to market its Pressure Cookers to the general public (and continues to do so).

       36.     Defendant’s conduct, as described above, was extreme and outrageous. Defendant

risked the safety and well-being of the consumers and users of its Pressure Cookers, including the

Plaintiff to this action, with the knowledge of the safety and efficacy problems and suppressed this

knowledge from the public. Defendant made conscious decisions not to redesign, warn or inform

the unsuspecting consuming public. Defendant’s outrageous conduct warrants an award of

punitive damages.

       WHEREFORE, Plaintiff demands judgment against Defendant for damages, together

with interest, costs of suit, and all such other relief as the Court deems proper.

                                      COUNT II
                         STRICT LIABILITY - FAILURE TO WARN

       37.     Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully herein.

       38.     At the time in which the Pressure Cooker was purchased, up through the time

Plaintiff was injured, Defendant knew or had reason to know that its Pressure Cookers were

dangerous and created an unreasonable risk of harm to consumers.

       39.     Defendant had a duty to exercise reasonable care to warn consumers of the

dangerous conditions or the facts that made its Pressure Cookers likely to be dangerous.


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          40.   As a direct and proximate result of Defendant’s negligent failure to warn of the

dangers of its Pressure Cookers, the Plaintiff in this case suffered injuries and damages described

herein.

          41.   Despite the fact that Defendant knew or should have known that consumers were

able to remove the lid while the Pressure Cookers were still pressurized, Defendant continued to

market its Pressure Cookers to the general public (and continues to do so).

          42.   Defendant’s conduct, as described above, was extreme and outrageous. Defendant

risked the safety and well-being of the consumers and users of its Pressure Cookers, including the

Plaintiff to this action, with the knowledge of the safety and efficacy problems and suppressed this

knowledge from the public. Defendant made conscious decisions not to redesign, warn or inform

the unsuspecting consuming public. Defendant’s outrageous conduct warrants an award of

punitive damages.

          WHEREFORE, Plaintiff demands judgment against Defendant for damages, together

with interest, costs of suit, and all such other relief as the Court deems proper.

                                            COUNT III
                                           NEGLIGENCE

          43.   Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

          44.   Defendant has a duty of reasonable care to design, manufacture, market, and sell

non-defective Pressure Cookers that are reasonably safe for their intended uses by consumers, such

as Plaintiff and her family.

          45.   Defendant failed to exercise ordinary care in the manufacture, sale, warnings,

quality assurance, quality control, distribution, advertising, promotion, sale and marketing of its




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Pressure Cookers in that Defendant knew or should have known that said Pressure Cookers created

a high risk of unreasonable harm to the Plaintiff and consumers alike.

       46.      Defendant was negligent in the design, manufacture, advertising, warning,

marketing and sale of its Pressure Cookers in that, among other things, it:

             a. Failed to use due care in designing and manufacturing the Pressure Cookers to
                avoid the aforementioned risks to individuals;

             b. Placed an unsafe product into the stream of commerce;

             c. Aggressively marketed its Pressure Cookers through social media and other
                advertising outlets; and

             d. Was otherwise careless or negligent.

       47.      Despite the fact that Defendant knew or should have known that consumers were

able to remove the lid while the Pressure Cookers were still pressurized, Defendant continued to

market (and continues to do so) its Pressure Cookers to the general public.

       48.      Defendant’s conduct, as described above, was extreme and outrageous. Defendant

risked the safety and well-being of the consumers and users of its Pressure Cookers, including the

Plaintiff to this action, with the knowledge of the safety and efficacy problems and suppressed this

knowledge from the public. Defendant made conscious decisions not to redesign, warn or inform

the unsuspecting consuming public. Defendant’s outrageous conduct warrants an award of

punitive damages.

       WHEREFORE, Plaintiff demands judgment against Defendant for damages, together

with interest, costs of suit, and all such other relief as the Court deems proper.

                                   JURY TRIAL DEMANDED

       Plaintiff demands that all issues of fact of this case be tried to a properly impaneled jury to

the extent permitted under the law.



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                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment against the Defendant for damages,

including punitive damages if applicable, to which she is entitled by law, as well as all costs of

this action, interest and attorneys’ fees, to the full extent of the law, whether arising under the

common law and/or statutory law, including:

           a. judgment for Plaintiff and against Defendant;

           b. damages to compensate Plaintiff for her injuries, past and future medical bills,
              economic losses and pain and suffering sustained as a result of the use of the
              Defendant’s Pressure Cookers;

           c. pre and post judgment interest at the lawful rate;

           d. a trial by jury on all issues of the case;

           e. an award of attorneys’ fees; and

           f. for any other relief as this Court may deem equitable and just, or that may be
              available under the law of another forum to the extent the law of another forum is
              applied, including but not limited to all relief prayed for in this Complaint and in
              the foregoing Prayer for Relief.


                                               Respectfully submitted,


                                               JOHNSON BECKER, PLLC

Dated: May 6, 2022                              /s/ Adam J. Kress, Esq.
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